Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 1 of 10 PageID 5735
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 2 of 10 PageID 5736
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 3 of 10 PageID 5737
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 4 of 10 PageID 5738
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 5 of 10 PageID 5739
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 6 of 10 PageID 5740
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 7 of 10 PageID 5741
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 8 of 10 PageID 5742
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 9 of 10 PageID 5743
Case 8:21-cr-00218-WFJ-AAS Document 1046-258 Filed 03/19/24 Page 10 of 10 PageID
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